          Case 1:19-cr-00696-PAE Document 120 Filed 04/09/20 Page 1 of 2




                                                                         Joseph A. DiRuzzo, III, Esq., CPA
                                                                                            954.615.1676
                                                                                      jd@diruzzolaw.com

April 9, 2020

Via ECF

The Honorable Paul A. Engelmayer
United States District Judge
Southern District of New York
United States Courthouse
40 Foley Square
New York, New York 10007

       Re:      United States v. Teman, case no. 1:19-cr-696

Dear Judge Engelmayer:

Pursuant to your “individual rules of practice in criminal cases,” this letter serves as the Defendant
Ari Teman’s request for the Court to authorize disclosure of the grand jury transcripts under Fed.
R. Crim. P. 6(e)(3)(E)(i) & (ii).

Teman has continuously argued that the indictment was constructively amended, and the
Government did not prove what was alleged in the indictment, viz. that Teman deposited
“counterfeit checks.” However, the Court made the following observation at trial:

       Look, let me offer this thought: If what you’re suggesting is that there might have
       been a mischaracterization of what was put before the grand jury, in the event of a
       conviction in this case, I expect there will be post-trial motions. You’re at liberty to
       seek the Court’s -- to invite the Court to review the grand jury transcript to test that
       proposition.

Tr. 888-889.

The parties have a profound disagreement as to what the grand jury indicted Teman on, and by
necessary extension, what the Government had to prove in its case in chief. See Stirone v. United
States, 361 U.S. 212, 217 (1960) (criminal defendants have a substantial right to be tried only on
charges presented in an indictment returned by a grand jury).

The Government claims that “unauthorized” was the term used before the grand jury and that
“counterfeit” was just a stylistic choice in the verbiage in the indictment. There can only be one way
of ascertaining the truth – disclosure under Rule 6(e).



401 East Las Olas Blvd., Suite 1400, Ft. Lauderdale, FL 33301
FAX/ 954.827.0340 WEB/ WWW.DIRUZZOLAW.COM
         Case 1:19-cr-00696-PAE Document 120 Filed 04/09/20 Page 2 of 2




Accordingly, the Court should enter an order authorizing the disclosure under Rule 6(e)(3)(E)(i)
and/or (ii) and permit Teman and the Court to review the grand jury transcripts to verify whether
Teman was convicted on what the grand jury indicted him on.

Kind Regards,
                                                                                                    Page | 2
                             Digitally signed by /s/ Joseph A. DiRuzzo, III
/s/ Joseph A. DiRuzzo, III   Date: 2020.04.09 17:00:34 -04'00'


Joseph A. DiRuzzo, III

JAD/

cc: AUSA K. Bhatia, via ECF
AUSA E. Imperatore, via ECF
J. Gelfand, via ECF




401 East Las Olas Blvd., Suite 1400, Ft. Lauderdale, FL 33301
FAX/ 954.827.0340 WEB/ WWW.DIRUZZOLAW.COM
